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FARNAN.

VIA E-FILING

The Honorable Leonard P. Stark
J. Caleb Boggs Federal Building
844 N. King Street

Room 6124, Unit 26
Wilmington, DE 19801-3556

May 13, 2016

RE: WrLANInce. v. Sharp Corp., et al, C.A. No. 15-cv-379-LPS-CJB

Dear Chief Judge Stark:

Plaintiff Wi-LAN, Inc. (“Plaintiff or “Wi-LAN”) respectfully requests leave to file the
Second Amended Complaint against Defendants Sharp Corporation and Sharp Electronics
Corporation (collectively, “Sharp”), and Hisense USA Corporation, Hisense International (Hong
Kong) America Investment Co., Limited, and Hisense Co., Ltd. (collectively, “Hisense”). See
Plaintiffs Second Amended Complaint, attached hereto as Ex. 1 (clean version) and Ex. 2
(redline versions) with accompanying Exhibits A-C. The amended complaint adds as parties
Hisense USA Corporation, Hisense International (Hong Kong) America Investment Co.,
Limited, and Hisense Co., Ltd. in response to a business alliance between Sharp and Hisense for
the sale of infringing televisions in the United States.

Hisense Should Be Added As a Party

Hisense is currently manufacturing and selling Sharp-branded televisions in the United
States that infringe one or more of the patents-in-suit. Under the business alliance formed by
Hisense and Sharp, Hisense and Sharp are jointly and severally liable for the infringement of the
patents-in-suit resulting from the past and ongoing sales of these televisions. Questions of fact
common to both Sharp and Hisense exist, including, for example, the infringement of the
Hisense-manufactured televisions sold under the Sharp brand name and by contractual
agreement from Sharp. Accordingly, joinder of Hisense to this lawsuit is proper under 35 U.S.C.
§ 299(a), and Plaintiff's Second Amended Complaint achieves the most efficient path towards
resolution of the dispute between all involved parties for both the parties and this Court.

On July 31, 2015, Sharp and Hisense entered into an agreement to form a business
alliance regarding Sharp’s digital television business in North America and Central and South
America, including sales of Sharp-branded digital televisions in the United States. Under the
terms of the agreement, Hisense took over ownership and operations of Sharp’s television
manufacturing facility in Mexico and licensed the Sharp digital television brands for sales of
Hisense-manufactured televisions to be sold, and offered for sale, in the United States under the
Sharp brand names. Hisense USA Corporation, Hisense International (Hong Kong) America
Investment Co., Limited, and Hisense Co., Ltd—named in the Second Amended Complaint—
are the entities engaged with Sharp in this agreement. The effective date of the alliance between
Sharp and Hisense occurred on or about January 6, 2016. See Sharp Corporation
Announcement, July 31, 2015 (available at http://www.sharp-
world.com/corporate/ir/topics/pdf/150731-2.pdf). Sharp continues, and will continue, to sell
digital televisions for corporate use in the United States. /d.

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The Hisense-manufactured digital televisions that are covered under the terms of this
business alliance are infringing one or more of the patents-in-suit. Under this alliance, Sharp and
Hisense have engaged in a joint enterprise and/or as agents of one another in the responsibility
for the making, having made, offering for sale, selling, importing, and/or using the display
products that are the subject the Second Amended Complaint. Plaintiff's Motion for Leave is
sought in the interests of justice and does not seek amendment on the basis of undue delay, bad
faith, dilatory motive, or prejudice, nor are the claims futile. Foman v. Davis, 371 U.S. 178, 182
(1962). Sharp’s opposition is unjustified and Plaintiff's Motion should be granted.

Leave to File the Second Amended Complaint Should Be Granted

Fed. R. Civ. P. 15(a)(2) dictates that when a party seeks to amend its complaint, “[t]he
court should freely give leave when justice so requires.” The Supreme Court has stated that “this
mandate is to be heeded.” Foman, 371 U.S. at 182. “In the absence of any apparent or declared
reason—such as undue delay, bad faith or dilatory motive on the part of the movant, repeated
failure to cure deficiencies by amendments previously allowed, undue prejudice to the opposing
party by virtue of allowance of the amendment, futility of amendment, etc.—the leave sought
should, as the rules require, be freely given.” Foman, 371 U.S. at 182; see also In re Burlington
Coat Factory Sec. Litig., 114 F.3d 1410, 1434 (3d Cir. 1997). “The Third Circuit has adopted a
liberal approach to the amendment of pleadings to ensure that a particular claim will be decided
on the merits rather than on technicalities.” Aerocrine AB vy. Apieron Inc., No. CIV. 08-787-LPS,
2010 WL 1225090, at *7 (D. Del. Mar. 30, 2010). Because Sharp cannot establish that any
reason exists to deviate from the liberal policies of this Court in granting leave to amend
pleadings, Plaintiff's Second Amended Complaint should be allowed.

A. Plaintiff’s Second Amended Complaint Is Timely

Generally, “delay alone is not sufficient to justify denial of leave to amend.” Arthur v.
Maersk, Inc., 434 F.3d 196, 203 (3d Cir.2006). And under these circumstances, there was no
delay at all. In the scheduling order submitted by the parties, and subsequently entered by the
Court, the parties agreed on a deadline of May 5, 2016 to join parties and amend or supplement
the pleadings (except for inequitable conduct and willful infringement). See Scheduling Order,
D.I. 24. Plaintiff informed Sharp of its intention to request leave to file the Second Amended
Complaint, and provided a copy of the Second Amended Complaint, prior to this deadline. To
allow Sharp time to consider it position, the parties agreed to extend the deadline until May 13,
2016. See Stipulations to Extend Time, D.I. 44 and D.I. 45. Wi-LAN’s Motion for Leave to File
the Second Amended Complaint is hereby being submitted on May 13, 2016—prior to the
deadline for joining parties and amending pleadings agreed to by the parties. On that basis alone,
the amendment should be allowed.

The amendment is sought only one year after the Original Complaint was filed, a delay
that is, under these circumstances, not “undue.” See Arthur, 434 F.3d at 204 (wherein the Third
Circuit noted that “only one appellate court... has approved .. . denial of leave to amend based
on a delay of less than one year.”). Further, the business alliance between Sharp and Hisense
began in January 2016, a mere four months prior to this Motion. And sales of the infringing
products under the business alliance began even more recent than that. Thus, any perceived delay
by Wi-LAN is justified.

B. Plaintiff's Motion Is Not Sought In Bad Faith Or With Dilatory Motive
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There is no evidence that Wi-LAN’s Motion is brought in bad faith or with dilatory
motive. To the contrary, Wi-LAN has acted in good faith by providing a copy of the Second
Amended Complaint to Sharp in seeking its position. Wi-LAN requested leave of Court to file
the amended complaint within the timeframe agreed to by the parties. And Wi-LAN has not
delayed its case against Sharp while preparing to add Hisense to the case. Discovery is at its
early stages and Wi-LAN has complied with all required deadlines and discovery disclosures to
this point in the case. Rather than filing a separate suit against Hisense that would have
overlapping issues with this case, the addition of Hisense to the case is intended to streamline
further litigation between the parties and result in in a faster resolution.

C. Sharp Is Not Prejudiced By the Second Amended Complaint

In seeking Sharp’s position on the Motion for Leave, Sharp indicated its opposition to
Plaintiff, but did not voice any prejudice brought upon it by joining Hisense to the case. The
“non-moving party has the burden of proving that actual prejudice will result from amendment of
the complaint.” Aerocrine AB, 2010 WL 1225090 at *7 (citations omitted). In proving prejudice,
the non-moving party “must do more than merely claim prejudice; it must show that it was
unfairly disadvantaged or deprived of the opportunity to present facts or evidence which it would
have offered had the amendments been timely.” Bechtel v. Robinson, 886 F.2d 644, 652 (3d Cir.
1989)

Indeed, there is no prejudice. The addition of Hisense will, instead, streamline the
disputes of all parties regarding the infringement of the products covered by the Sharp and
Hisense business alliance. Rather than filing a separate suit on this limited set of products, the
addition of Hisense to this suit will serve the efficient resolution of the disputes between all
parties involved. Because discovery in this case is still in the initial stages, neither Sharp nor
Hisense will be deprived of the opportunity to present facts or evidence. See id. (finding that
neither the party already in suit nor the added party were deprived of the chance to present facts
or evidence since the case was still in the initial stages of discovery). Early discovery disclosures
have been exchanged between the parties, but no depositions or third-party disclosures have
occurred yet. Fact discovery is not set to close in this case until March 31, 2017 and claim
construction proceedings have not yet begun. Sharp cannot claim any prejudice by the adding of
Hisense at this early stage in the litigation.

D. Because Hisense Is a Proper Party to This Suit, Wi-LAN’s Amendment Is Not Futile
Under Rule 15, an amendment is considered futile if it cannot withstand a motion to
dismiss. Jablonski v. Pan Am. World Airways, Inc., 863 F.2d 289, 292 (3d Cir.1988); Site
Microsurgical Sys., Inc. v. Cooper Co., 797 F.Supp. 333, 336 (D.Del.1992). As stated in the
Second Amended Complaint, Wi-LAN has a proper claim of infringement against Hisense that
overlaps with its claims against Sharp based on a common set of accused products. These facts,
accepted as true, establish a legally sufficient claim against Hisense and support Wi-LAN’s
claims which entitle them to relief. See Nami v. Fauver, 82 F.3d 63, 65 (3d Cir.1996) (Under
Fed.R.Civ.P. 12(b)(6), the court “must accept as true the factual allegations in the complaint and
all reasonable inferences that can be drawn therefrom.”). Thus, the amendment contained in the
Second Amended Complaint is not futile and this factor favors granting the Motion for Leave.

Because each of the Foman factors weighs in favor of allowing the amendment, Wi-LAN
respectfully requests that the Court grant the Motion and enter the Second Amended Complaint.
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Respectfully submitted,
/s/ Michael J. Farnan

Michael J. Farnan

cc: Counsel of Record (via E-File)
